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 4
 5   Attorney for Defendant
     MIGUEL ANGEL QUINTANA NIETO
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                             EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA          )               CASE NO. 1:08-CR-059-AWI
                                       )
11                                     )               STIPULATION TO CONTINUE
                      Plaintiff,       )               SENTENCING
12                                     )
           v.                          )
13                                     )
     MIGUEL ANGEL QUINTANA NIETO )
14                                     )
                      Defendant.       )
15   _________________________________)
16
            Defendant, MIGUEL ANGEL QUINTANA NIETO, by and through his counsel of
17
     record, NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and
18
     through its counsel of record, KATHLEEN SERVATIUS, Assistant United States Attorney
19
     for the Eastern District of California, hereby stipulate that the sentencing in the above-
20
     referenced case currently scheduled for Monday, November 23, 2009, at 9:00 a.m. be
21
     continued to Monday, February 8, 2010 at 9:00 a.m. in the courtroom for the Honorable
22
     Anthony W. Ishii, District Judge.
23
     ///
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28
      Case 1:08-cr-00059-AWI Document 124 Filed 11/20/09 Page 2 of 2


 1   IT IS SO STIPULATED
                                               Respectfully submitted,
 2
 3
     Dated: 11-19-09                           /s/ Nicholas F. Reyes
 4                                             NICHOLAS F. REYES
                                               Attorney for Defendant
 5
 6
 7   IT IS SO STIPULATED
 8
 9   Dated: 11-19-09                           /s/ Kathleen Servatius
                                               KATHLEEN SERVATIUS
10                                             Assistant U.S. Attorney
11
12
13
                                       ORDER
14
15
     IT IS SO ORDERED.
16
     Dated:    November 19, 2009            /s/ Anthony W. Ishii
17   0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
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